           Case 1:24-mc-00873-DII Document 3 Filed 08/07/24 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
CARSON BLOCK



-vs-                                                        Case No.:     1:24-mc-00873

TECHTRONIC INDUSTRIES COMPANY
LIMITED and TECHTRONIC INDUSTRIES
FACTORY OUTLETS, INC.



                         MOTION FOR ADMISSION PRO HAC VICE


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                               Andrew M. Erdlen
       &RPHV QRZ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB DSSOLFDQW KHUHLQ DQG

PRYHVWKLV&RXUWWRJUDQWDGPLVVLRQWRWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFWRI

                                          Carson Block
7H[DVSURKDFYLFHWRUHSUHVHQWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBLQWKLVFDVHDQGZRXOG

UHVSHFWIXOO\VKRZWKH&RXUWDVIROORZV

     $SSOLFDQWLVDQDWWRUQH\DQGDPHPEHURIWKHODZILUP RUSUDFWLFHVXQGHUWKHQDPHRI

                        Hangley Aronchick Segal Pudlin & Schiller
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       ZLWKRIILFHVDW

               0DLOLQJDGGUHVV         One Logan Square, 27th Floor
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               &LW\6WDWH=LS&RGH          Philadelphia, PA 19103
                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

               7HOHSKRQH               215-496-7036
                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

               )DFVLPLOH                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                        215-568-0300

               Email:             aerdlen@hangley.com
                                  ________________________________________________
        Case 1:24-mc-00873-DII Document 3 Filed 08/07/24 Page 2 of 5




               June 5, 2015
     6LQFHBBBBBBBBBBBBBBBBBBBBBBB$SSOLFDQWKDVEHHQDQGSUHVHQWO\LVDPHPEHURIDQGLQ

                                                                   Pennsylvania
     JRRG VWDQGLQJ ZLWK WKH %DU RI WKH 6WDWH RI BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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     $SSOLFDQW¶VEDUOLFHQVHQXPEHULVBBBBBBBBBBBBBBBBBBBBBBB

   $SSOLFDQWKDVEHHQDGPLWWHGWRSUDFWLFHEHIRUHWKHIROORZLQJFRXUWV

     &RXUW                                              $GPLVVLRQGDWH

     SEE ATTACHED SHEET
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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   $SSOLFDQWLVSUHVHQWO\DPHPEHULQJRRGVWDQGLQJRIWKHEDUVRIWKHFRXUWVOLVWHGDERYH

     H[FHSWDVSURYLGHGEHORZ OLVWDQ\FRXUWQDPHGLQWKHSUHFHGLQJSDUDJUDSKEHIRUHZKLFK

     $SSOLFDQWLVQRORQJHUDGPLWWHGWRSUDFWLFH 

     N/A
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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   $SSOLFDQW KDV QHYHU EHHQ VXEMHFW WR JULHYDQFH SURFHHGLQJV RU LQYROXQWDU\ UHPRYDO

     SURFHHGLQJVZKLOHDPHPEHURIWKHEDURIDQ\VWDWHRUIHGHUDOFRXUWH[FHSWDVSURYLGHG

     EHORZ

     N/A
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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   $SSOLFDQWKDVQRWEHHQFKDUJHGDUUHVWHGRUFRQYLFWHGRIDFULPLQDORIIHQVHRURIIHQVHV

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          Case 1:24-mc-00873-DII Document 3 Filed 08/07/24 Page 3 of 5




    $SSOLFDQWKDVUHDGDQGLVIDPLOLDUZLWKWKH/RFDO5XOHVRIWKH:HVWHUQ'LVWULFWRI7H[DVDQG

      ZLOOFRPSO\ZLWKWKHVWDQGDUGVRISUDFWLFHVHWRXWWKHUHLQ

    6HOHFWRQH

      G      $SSOLFDQW KDV RQ ILOH DQ DSSOLFDWLRQ IRU DGPLVVLRQ WR SUDFWLFH EHIRUH WKH 8QLWHG

             6WDWHV'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFWRI7H[DV

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      ✔      $SSOLFDQWKDVFRFRXQVHOLQWKLVFDVHZKRLVDGPLWWHGWRSUDFWLFHEHIRUHWKH8QLWHG

             6WDWHV'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFWRI7H[DV

             &RFRXQVHO              David C. Lawrence
                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

             0DLOLQJDGGUHVV         Rigby Slack, PLLC, 3500 Jefferson Street, Suite 330
                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

             &LW\6WDWH=LS&RGH           Austin, TX 78731
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             7HOHSKRQH               512-782-2060
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    6KRXOGWKH&RXUWJUDQWDSSOLFDQW¶VPRWLRQ$SSOLFDQWVKDOOWHQGHUWKHDPRXQWRI

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      WRClerk, U.S. District Court@

   6KRXOGWKH&RXUWJUDQWDSSOLFDQW VPRWLRQ$SSOLFDQWVKDOOUHJLVWHUDVDILOLQJXVHUZLWKLQ

      GD\VRIWKLVRUGHUSXUVXDQWWR$GPLQLVWUDWLYH3ROLFLHVDQG3URFHGXUHVIRU(OHFWURQLF)LOLQJ

      LQ&LYLODQG&ULPLQDO&DVHVLQWKH:HVWHUQ'LVWULFWRI7H[DV




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           Case 1:24-mc-00873-DII Document 3 Filed 08/07/24 Page 4 of 5




:KHUHIRUH$SSOLFDQWSUD\VWKDWWKLV&RXUWHQWHUDQRUGHUSHUPLWWLQJWKHDGPLVVLRQRI

            Andrew M. Erdlen
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                                             5HVSHFWIXOO\VXEPLWWHG


                                                            Andrew M. Erdlen
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                                             >VLJQDWXUHRI$SSOLFDQW@



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             August                   2024


                                                            Andrew M. Erdlen
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Case 1:24-mc-00873-DII Document 3 Filed 08/07/24 Page 5 of 5




  Andrew M. Erdlen Motion for Admission Pro Hac Vice

                   ATTACHED SHEET

 Date              Bar Admission

 04/24/2013        New York

 06/05/2015        Pennsylvania

 05/04/2016        New Jersey

 05/31/2016        USDC, District of New Jersey

 03/25/2014        USDC, Southern District of New York

 03/25/2014        USDC, Eastern District of New York

 07/09/2015        USDC, Eastern District of Pennsylvania

 10/15/2014        USCA, Second Circuit

 12/01/2020        USCA, Third Circuit

 12/22/2021        USCA, District of Columbia Circuit
